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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §   CRIMINAL NO. 4:04CR106 RAS/DDB
                                                   §
 CHRISTOPHER LAVON LEWIS (28)                      §


                             REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE

          Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on April 2, 2015 to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by Chris

 Eason.

          On February 3, 2005, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 151 months imprisonment followed by a 5-year term of

 supervised release for the offense of Conspiracy to Possess with Intent to Distribute Cocaine Base.

 On August 22, 2008, pursuant to 18 U.S.C. § 3582(c)(2), Defendant’s sentence of imprisonment was

 reduced to 130 months. Subsequently on November 14, 2011, the sentence of imprisonment was

 reduced to 120 months pursuant to 18 U.S.C. § 3582(c)(2). Defendant began his term of supervision

 on July 3, 2013.

          On February 2, 2015, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 1576). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall refrain from any unlawful use

 of a controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not


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 purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any

 paraphernalia related to such substances, except as prescribed by a physician; (3) Defendant shall

 report to the probation officer as directed by the Court or probation officer and shall submit a truthful

 and complete written report within the first five days of each month; (4) Defendant shall notify the

 probation officer ten days prior to any change in residence or employment; (5) Defendant shall notify

 the probation officer within seventy-two hours of being arrested or questioned by a law enforcement

 officer; and (6) Defendant shall participate in a program of testing and treatment for drug abuse,

 under the guidance and direction of the U.S. Probation Office, until such time as Defendant is

 released from the program by the probation officer.

         The Petition alleges that Defendant committed the following violations: (1) On October 28,

 2013, Defendant submitted a urine specimen which tested positive for marijuana. He admitted

 verbally and in writing that he smoked marijuana five days prior to submitting the specimen; (2) On

 November 22, 2013, and January 8, 2015, Defendant submitted urine specimens which tested

 positive for cocaine; (3) Defendant failed to timely submit a monthly report within the first five days

 of the month for the months of July, September and December 2013; and January, February, April,

 May, June, July, August, September and October 2014; (4) On August 12, 2013, Defendant failed

 to notify the probation officer ten days prior to his change in residence when he moved to Paris,

 Texas. On September 3, 2013, Defendant failed to notify the probation officer ten days prior to his

 change in residence when he moved to Mesquite, Texas. Defendant failed to notify the probation

 officer of change in employment in a timely manner. On October 16, 2013, Defendant reported he

 was terminated from his job on October 5, 2013. On December 8, 2013, Defendant failed to notify

 the probation officer ten days prior to his change in residence when he moved to Dallas, Texas.


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     Defendant failed to notify the probation officer of change in employment in a timely manner. On

     August 27, 2014, Defendant reported he gained employment on or about August 19, 2014. On

     January 7, 2015, Defendant failed to notify the probation officer ten days prior to his change in

     residence when he moved to a different location in Paris, Texas; (5) Defendant failed to notify the

     probation officer within seventy-two hours of being questioned by Paris Police Department on

     December 6, 2014; and (6) Defendant failed to submit to drug testing as directed on October 15,

     2013, March 15, September 8, September 17, December 9, and December 29, 2014. Defendant

     failed to attend substance abuse counseling at Pillar Counseling, Plano, Texas, as directed on

     December 3, 2013, and January 31, February 19, and February 25, 2014.

             At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

     his right to allocute before the district judge and his right to object to the report and recommendation

     of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                           RECOMMENDATION

             Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the April 2, 2015 hearing, the Court recommends that Defendant be committed to the
.
     custody of the Bureau of Prisons to be imprisoned for a term of twenty-one (21) months, with no

     supervised release to follow. The Court further recommends that Defendant’s term of imprisonment

     be carried out in FCI Seagoville, if appropriate.

           SIGNED this 14th day of April, 2015.

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                                                    ____________________________________
                                                    DON D. BUSH
                                                    UNITED STATES MAGISTRATE JUDGE
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